                                                                         Case 2:16-cv-09368-DSF-AGR Document 12 Filed 03/31/17 Page 1 of 2 Page ID #:46



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                                                                            5
                                                                                Attorneys (Substituting In) for Plaintiff
                                                                            6   TOM SCHMIDT
                                                                            7
                                                                            8                        UNITED STATES DISTRICT COURT
                                                                            9                      CENTRAL DISTRICT OF CALIFORNIA
                                                                           10
                                                                           11   TOM SCHMIDT, an individual,      )          CASE NO.: 2:16-cv-09368-DSF-AG
                                                                                                                 )
                                                                           12        Plaintiff,                  )          DECLARATION OF STEVEN H.
                                                                                                                 )          HANEY IN RESPONSE TO ORDER
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                                                                           13   vs.                              )          TO SHOW CAUSE RE DISMISSAL
                           Lo s A n geles , C alifor n ia 9 0 0 1 7




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                             Teleph o n e: (2 1 3 ) 2 2 8 -6 5 0 0
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HANEY & YOUNG, LLP




                                                                           14   SHERRI BALDY, an individual; and )          Date:        April 3, 2017
                                                                                DOES 1 through 10, inclusive,    )          Dept.        7D (1st St. Courthouse)
                                                                           15                                    )          Judge:       Hon. Dale S. Fischer
                                                                                     Defendants.                 )
                                                                           16                                    )
                                                                                ________________________________ )
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                                                                                                              DECL. OF STEVEN H. HANEY
                                                                         Case 2:16-cv-09368-DSF-AGR Document 12 Filed 03/31/17 Page 2 of 2 Page ID #:47



                                                                            1                      DECLARATION OF STEVEN H. HANEY
                                                                            2         I, Steven H. Haney, declare as follows:
                                                                            3         I am an attorney licensed to practice before all courts in the State of
                                                                            4   California and a partner in the law firm of Haney & Young, LLP, new counsel
                                                                            5   substituting in as attorney of record for Plaintiff Tom Schmidt (“Schmidt”) in the
                                                                            6   instant litigation. I have personal knowledge of the following facts and if called as
                                                                            7   a witness, could and would testify competently thereto under oath:
                                                                            8         1.     My law firm filed a request to substitute in as counsel for Schmidt in
                                                                            9   this case, on March 31, 2017.
                                                                           10         2.     Based on information I have obtained, I believe Defendant Sherri
                                                                           11   Ann Baldy has not been served due to a combination of factors, including, by way
                                                                           12   of example, (1) she appears to be evading service, and (2) my predecessor counsel
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                                                                           13   has been less diligent than this firm will be in serving the Defendant.
                           Lo s A n geles , C alifor n ia 9 0 0 1 7
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                              F ac s im ile: (2 1 3 ) 2 2 8 -6 5 0 1
HANEY & YOUNG, LLP




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                                                                                      3.     I have already assigned my investigator to look into the issue of
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                                                                                service of process on Defendant in this case. I have determined that we will be
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                                                                                able to serve Defendant within the next thirty days, and respectfully request the
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                                                                                Court for an extension for that length of time for us to serve Defendant.
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                                                                                      I declare under penalty of perjury of the laws of the United States of
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                                                                                America that the foregoing is true and correct, and that this declaration was
                                                                           21
                                                                                executed on this 31st day of March, 2017 at Los Angeles, California
                                                                           22
                                                                                                                                    /s/Steven H. Haney
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                                                                                                                                    Steven H. Haney
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                                                                                                              DECL. OF STEVEN H. HANEY
